Case 1:13-cv-00118-SWS Document 45-1 Filed 06/19/14 Page 1 of 4

EXHIBIT A

Case 1:13-cv-00118-SWS Document 45-1 Filed 06/19/14 Page 2 of 4

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF WYOMING
TIMOTHY MELLON, a Wyoming resident,
Plaintiff,

v. Case No. 13 CV 118-8

}
)
)
)
THE INTERNATIONAL GROUP FOR. )
_ HISTORIC AIRCRAFT RECOVERY, a )
- Delaware noti-profit corporation and )
RICHARD E, GILLESPIE, )
a, )

}

Defendants,

- ARFIDAVIT OF RICHARD E. GILLESPIE
{, Richard E. Gillespie, being first daly sworn, so hereby sweat and affirm as follows.

1. Tarn dhe of the named Defendants in the above-captioned lawsuit, and am the

Executive Director of the

International Group for Historic Aircraft Recovery (“TIGHAR’).

2,” Taman adult, competent and capable of testifying, and make. this Affidavit freely

and voluntarily based. upon my personal knowledge and belief, as well'as upon information and

belief accumulated during my involvement with TIGHAR.. ~
3, Tf called to testify tegarding the matters in this Affidayit, I would testify
consistently with the contents of this Affidavit. .

4. Lam the founder of TIGHAR, and have served as its Executive Director since its —

founding in January, 1985. Inmy capacity as Executive Director of TIGHAR, [ receive’a salary
for my experience and services, as well as certain job-related benefits, such as insurance,

5, Lam familiar with, overseé and administer the day-to-day activities of TIGHAR.

I have participated in all expeditions TIGHAR has made to the island of Nikumaroro, except for:
a brief, four-person expedition in 2003.. Thave-participated-in or otherwise becomé familiar on a
first-hand basis with all ‘the operations and investigations conducted, by “TIGHAR.. These
investigations include “The Earhart Project,” which is TIGHAR’s dedicated effort to determine
what happened to Amelia Earhart and her navigator Fred Noonan when they disappeared in the
South Pacific during their attempted around-the-world flight in the summer of 1937.

. 6. The investigation conducted ag part of The Earhart Project include, but are not.
liniited to, interviews with various individuals who occupied or visited the island of Nikumaroro

9004844150_1

Case 1:13-cv-00118-SWS Document 45-1 Filed 06/19/14 Page 3 of 4

around the time of the disappearance and after, the review of evidence found on the island at

various times and locations, review of logs, diaries, notes, reports, correspondence and other
communications connected directly and indirectly with the disappearance and the around-the-
world attempt, as well as the search efforts conducted after the disappearance. Physical
evidencé, photographs and radio communications have also been reviewed and analyzed ‘by me
and by others on behalf of TIGHAR, and I am completely familiar with these efforts and
competent to speak about them.

7. Over the course of years of investigation and research, TIGHAR has reached an
operating theory regarding the disappearance of Ms. Earhart and Mr. Noonan. In brief summary,
TIGHAR’s theory is that Ms. Earhart and Mr. Noonan, muining low on fuel and unable to locate.
their designated refueling point on Howland Island in the South Pacific, landed on the exposed
reef at Gardner Island, now known as. .Nikumaroro. The theory continues that their plane
- subsequently was washed over the reef ‘and into the deep ocean, and Ms. Earhart and Mr.

4 . ‘

Noonan ultimately perished. on Nikumaroro: of ‘injuries sustained by-them during landing or
afterwards, 'staryation, dehydration or some combination of these three.

8. For over 20 years. it has been my policy, and the policy of the Board of Directors.
of TIGHAR, that TIGHAR will announce the discovery of Earhart Wreckage or its belief that the

mystery of the disappearance has been solyed only when we find and positively identify

conclusive, indisputable proof that recovered wreckage is that of the plane or DNA of Ms.

"9, — At all times relevant and material to the actions giving rise to Plaintiff's
_ Complaint, Dacted-in my official capacity as Executive. Director of TIGHAR. I took no action
and:made.no statements relevant to such facts in. my individual capacity.

10. ‘At all times rélevant anid micterial fo the ‘actions giving rise to Plaintiff's
Complaint, [never received any direct, individual financial or other benefit from Plaintiffin my —
individual capacity. a - . ct

. 11. References in this lawsuit to. the “Bevington. Object” relate to an object appearing
in a late 1937 photograph of Nikumaroro by an English Colonial Administrator who was
surveying islands in the area, Bric Bevington.

12. The object was discovered in the photograph by Defendants and a photo analyst

_ doing work for TIGHAR, Jeff Glickman, on or about April, 2010. The photograph was made
public before the 2010 expedition, and while analysis of such photographs and objects can never
be “complete,” I published a research bulletin about it on the TIGHAR website on April 20,

_ 2010, which may be found here:

hitp:/Aighar org/Projects/Earhart/Archives/Research/Bulletins/58 NessieHypothesis/58 NessieH
ypothesis.bim a
13. Analysis overseen by TIGHAR and performed with the assistance of TIGHAR is

that the Bevington Object is consistent with landing gear from. the missing Lockheed Electra.
While its appearance is consistent with TIGHAR’s theory, in my opinion it is:not conclusive.

“2004843150_1

, Case 1:13-cv-00118-SWS Document 45-1 Filed 06/19/14 Page 4 of 4

14. References in this lawsuit to the “Cook photo” or the “Cook photograph” relate to
an underwater photograph taken near Nikumaroro on or about September 13, 2009, The
photograph -was not taken during a TIGHAR expedition, and was only discovered when a
TIGHAR board member attended a presentation on coral reefs where the. image was shown by
the presenter, Craig ‘Cook. This presentation took place on or about September 17, 2011.

15. After learning of the photograph, TIGHAR attempted for seven months to obtain
permission to use and analyze the photograph. When permission was obtained, it included a
non-disclosure agreement with TIGHAR, preventing TIGHAR from publishing or announcing

the picture. The agreement ‘precluded us from revealing the photograph or ifs existence to
anyone, including the Plaintiff. “

16. . TIGHAR obtained the Cook photo on or about April 5, 2012, and subsequently
had itreviewed and analyzed.
TD. While Plaintiff apparently believes the Cook, photo depicts Earhart Wreckage,
TIGHAR’s analysis and opinion is that the photograph does not depict anything of interest in our
investigation into Earhart’s disappearance.

__ DATED this (7 Aay of June, 2014.

_ STATBOFPENNSYLVANIA ——_)

COUNTY OF CHESTER — )

Subscribed and sworn to béfore me this iat day of June, 2014, by Richard E.. Gillespie,
whose identity was proven to me on the basis of satisfactory evidence to be. the individual whose
vo name is subscribed to this instrument, and who personally appeared before me ‘and
j acknowledged that she executed it as her voluntary act and deed. ° .

“WITNESS my hand and official seal.

eS ~My oyfmission expires: . | [gz Ho

{ fF

Notary Public ( i

COMMONWEALTH OF PENNSYLVANIA.

~ Colerain Twp, Lancaster Cou my

Hy Commission Expires Jon. 8, 2016
FLYAHIA ASSOCIATION OF HOTARIES

2004843150_1 -

